                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:09-CR-00032-FDW-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               )
                                                  )                    ORDER
 RONECA CHARNEE WHITE,                            )
                                                  )
                  Defendant.                      )
                                                  )
 and                                              )
                                                  )
 TEACHERS INSURANCE AND                           )
 ANNUNITY ASSOCIATON OF                           )
 AMERICA,

                   Garnishee.



        THIS MATTER is before the Court on the “Unopposed Motion to Stay Order of

Continuing Writ of Garnishment by TIAA until after Further Court Determination” (document #

171) filed November 21, 2016. For the reasons set forth therein, the Motion will be granted.


        The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Frank D. Whitney.


        SO ORDERED.



                                  Signed: November 21, 2016




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